8:13-cr-00106-JFB-RCC       Doc # 450   Filed: 07/28/15   Page 1 of 2 - Page ID # 3540




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                    Plaintiffs,                               8:13CR106

      v.
                                                               ORDER
WARREN TIDWELL,

                   Defendant.


      This matter before the court on the defendant's objection, Filing No. 351, to the

order of the magistrate judge, Filing Nos. 282 & 289, denying his motion for

appointment of counsel under the Criminal Justice Act, 18 U.S.C. § 3006A, ("CJA"),

Filing No. 277. Counsel was directed to submit bills for an in camera review. Filing No.

396 & Filing No. 440.

      The court has reviewed counsel's submissions and finds that the defendant's

objection should be sustained, the order of the magistrate judge should be reversed,

and the defendant's motion for appointment of counsel under the CJA should be

granted.

      The court finds that counsel Joseph L. Howard should be appointed to represent

the defendant Warren Tidwell under the CJA.          Counsel may submit claims for

compensation under the CJA for attorney's fees incurred from and after Monday,

January 12, 2015, except for time spent on January 12, 2015, reviewing the magistrate

judge's order on the motion to appoint counsel. Further, counsel may submit claims for

reimbursement of outstanding expert witness fees and expenses and for counsel's

reasonable reimbursable expenses to date. The court finds the expenditure for an
8:13-cr-00106-JFB-RCC      Doc # 450    Filed: 07/28/15    Page 2 of 2 - Page ID # 3541




expert witness is necessary for the adequate representation of the defendant in this

matter. Accordingly,

      IT IS HEREBY ORDERED:

      1.     The defendant's objection (Filing No. 351) to the order of the magistrate

judge is sustained.

      2.     That portion of the order of the magistrate judge (Filing Nos. 282 & 289)

that denies the defendant's motion for appointment of counsel under the CJA is

reversed.

      3.     The defendant's motion for appointment of counsel under the CJA (Filing

No. 277) is granted.

      4.     Counsel Joseph L. Howard is appointed under the Criminal Justice Act to

represent defendant Warren Tidwell in this matter, effective January 12, 2015.

      DATED this 28th day of July, 2015

                                               BY THE COURT:
                                               s/ Joseph F. Bataillon
                                               Senior United States District Judge




                                           2
